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            Exhibit 26
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               1    GIBSON, DUNN & CRUTCHER LLP                   GIBSON, DUNN & CRUTCHER LLP
                    Orin Snyder (pro hac vice)                    Deborah Stein (SBN 224570)
               2      osnyder@gibsondunn.com                        dstein@gibsondunn.com
               3    200 Park Avenue                               333 South Grand Avenue
                    New York, NY 10166-0193                       Los Angeles, CA 90071-3197
               4    Telephone: 212.351.4000                       Telephone: 213.229.7000
                    Facsimile: 212.351.4035                       Facsimile: 213.229.7520
               5
                    Kristin A. Linsley (SBN 154148)               Joshua S. Lipshutz (SBN 242557)
               6      klinsley@gibsondunn.com                       jlipshutz@gibsondunn.com
               7    Martie Kutscher (SBN 302650)                  1050 Connecticut Avenue, N.W.
                      mkutscherclark@gibsondunn.com               Washington, DC 20036-5306
               8    555 Mission Street, Suite 3000                Telephone: 202.955.8500
                    San Francisco, CA 94105-0921                  Facsimile: 202.467.0539
               9    Telephone: 415.393.8200
                    Facsimile: 415.393.8306
           10

           11       Attorneys for Defendant Facebook, Inc.

           12
                                                 UNITED STATES DISTRICT COURT
           13                                  NORTHERN DISTRICT OF CALIFORNIA
                                                    SAN FRANCISCO DIVISION
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           16      IN RE: FACEBOOK, INC. CONSUMER                     CASE NO. 3:18-MD-02843-VC
                   PRIVACY USER PROFILE LITIGATION,
           17                                                         MOTION FOR RECONSIDERATION OF
                                                                      SPECIAL MASTER’S ORDER
           18
                   This document relates to:                          REGARDING PRODUCTION OF ADI
           19                                                         RELATED DOCUMENTS
                   ALL ACTIONS
           20                                                         HEARING REQUESTED

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               1                                                   INTRODUCTION

               2           Facebook respectfully seeks reconsideration of the Special Master’s December 8, 2021

               3   Tentative Order re: Production of ADI Related Documents (“Tentative Order”). 1 Complying with the

               4   Tentative Order would require a massive and overbroad collection and review of ADI materials that

               5   would likely take thousands of attorney hours to complete. Undertaking that process would run

               6   counter to Judge Corley’s guidance and basic proportionality principles, and completing it on the

               7   timeframe the Tentative Order requires is literally impossible.

               8           This case is not about ADI and how it was conducted. It is about long-deprecated forms of

               9   data-sharing that ended before ADI even began. Judge Corley recognized that communications about

           10      how ADI was conducted were not relevant and potentially privileged and limited ADI discovery

           11      accordingly to certain documents she found to contain “underlying facts” that ADI uncovered. The

           12      Tentative Order does the opposite, throwing a bomb into the discovery process without any concern

           13      for relevance, privilege, burden, or proportionality. By opening up the case to a massive ADI review

           14      with just six weeks before the substantial completion deadline, the Tentative Order would hamstring

           15      this litigation in months of additional discovery on a sideshow topic. The Tentative Order should be

           16      modified to reflect Judge Corley’s guidance that the ADI productions should be limited to relevant

           17      underlying factual materials and proportionate to the needs of this case.

           18              After working with the parties for nearly two years to focus Plaintiffs’ ADI requests, Judge

           19      Corley identified three categories of materials for Facebook’s ADI production and made clear that the

           20      production should be tailored and proportionate. The Tentative Order would upend Judge Corley’s

           21      guidance by requiring a colossal collection and review of ADI communications far beyond the scope

           22      Judge Corley contemplated and the proportionality principles articulated in Rule 26. After a

           23      burdensome sampling exercise and in camera review of ADI correspondence among non-attorneys,

           24      Judge Corley did not order Facebook to produce a single ADI communication. Instead, she found: “a

           25      lot of it” not “relevant at all” and found some materials to be “privilege[d].” Apr. 6, 2021 Hr’g Tr.

           26      (Ex. B) at 17:8–21. Recognizing that Plaintiffs’ overbroad request for ADI communications was

           27      1
                     Under the Special Master’s briefing protocol (Protocol for Resolving Discovery Disputes – Order No. 1, JAMS Ref. No.
                   1200058674, Aug. 20, 2021), the Special Master’s rulings are “tentative” and “become final” only “[i]n the absence of a
           28      timely request for reconsideration.” Id. ¶¶ 7-8. The Special Master granted Facebook an extension of one day, until
                   December 15, 2021, to file this reconsideration motion.
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               1   unworkable, infeasible, and unrealistic, Judge Corley instead guided the parties toward a limited

               2   production of three categories of underlying factual materials. Id. at 18:13-15; id. at 18:1-4. The

               3   Tentative Order blows far beyond those boundaries and unwinds Judge Corley’s guidance.

               4          The Tentative Order is also impossible to comply with. Under the Tentative Order, within

               5   two weeks of a request from Plaintiffs, Facebook could have to conduct a detailed review of many

               6   thousands of communications relating to                apps, and assess which relate in any way to an

               7   investigatory report prepared by outside experts at the direction of counsel. This would be a

               8   gargantuan and disproportionate undertaking. The review would require thousands of attorney hours

               9   and could be completed accurately only by attorneys who have significant experience with ADI. A

           10      similar review for just six apps required more than 300 attorney hours from attorneys who worked on

           11      ADI. The review the Tentative Order contemplates would be many orders of magnitude larger, and it

           12      would only be the start. The Tentative Order opens the door for endless large, rapid-fire reviews.

           13             Judge Corley did not intend ADI productions to cause a multi-month expenditure of such

           14      proportions. The Tentative Order’s sweeping language erases nearly two years of work to focus the

           15      universe of discoverable ADI documents, and it disregards Judge Corley’s care and calibration in

           16      identifying three categories of materials that she found potentially discoverable and proportionate.

           17             The Tentative Order also conflicts directly with the Massachusetts Supreme Judicial Court’s

           18      recent holding that ADI communications are privileged, and runs afoul of authority requiring a

           19      document-by-document in camera review before ordering a party to produce documents over which

           20      it asserts privilege. The Special Master has not reviewed any communications he ordered Facebook

           21      to produce, and Judge Corley—who did—stated that many appeared to be privileged and irrelevant.

           22             Facebook respectfully asks the Special Master to reconsider his ruling and instead confine

           23      Facebook’s ADI production obligations to the three categories of ADI materials Judge Corley

           24      ordered Facebook to produce under compulsion on the basis that they concern “underlying facts”: (i)

           25      background and technical reports prepared by consulting experts; (ii) audits conducted by non-

           26      attorneys, and (iii) interviews conducted by non-attorneys. In the event that the Special Master does

           27      not reconsider or modify the Tentative Order, Facebook respectfully requests a stay of the order

           28      pending appeal to Judge Corley. Facebook requests a hearing on this motion.

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               1                                              ARGUMENT

               2   I.     Facebook seeks reconsideration of the Tentative Order’s ruling that ADI-related

               3          communications among non-attorneys are discoverable.

               4          Facebook respectfully seeks reconsideration of the Special Master’s finding that “Judge

               5   Corley’s order does not exclude non-attorney internal Facebook communications, communications

               6   with [Facebook’s consulting experts], or communications with third party app developers from the

               7   scope of ADI documents to be produced.” Tentative Order ¶ 12.

               8          When Facebook first raised to Judge Corley the massive volume of ADI-related

               9   communications and the myriad privilege issues they implicate, Judge Corley made clear that any

           10      ADI production would be proportionate and limited to relevant, non-privileged documents going to

           11      the “underlying facts.” She did not order that every single underlying document be produced.

           12      Rather, she observed correctly that many of the documents were not relevant or necessary.

           13             Judge Corley worked with the parties to design a sampling exercise so that she could provide

           14      guidance on which ADI-related materials would be discoverable. After an in camera review of

           15      sample ADI communications among non-attorneys (of Plaintiffs’ choosing), Judge Corley did not

           16      order production of a single communication. Instead, she recognized that many of the materials she

           17      reviewed were not relevant and that many were privileged. Ex. B at 17:15-21. In response, Plaintiffs

           18      insisted they did not need ADI communications and limited their request: “[T]he facts underlying

           19      these communications are what we’re really seeking.” Id. at 18:13-15; id. at 18:1-4. The parties

           20      then spent months negotiating and litigating which “underlying facts” from ADI Facebook would

           21      produce, all with the understanding that communications were off the table.

           22             Judge Corley ultimately found three specific categories of ADI materials potentially

           23      discoverable on the basis that they could contain “underlying facts”—(i) background and technical

           24      reports prepared by outside experts, (ii) audits of app developers conducted by non-attorneys, and

           25      (iii) interviews of app developers conducted by non-attorneys. The Tentative Order blows past these

           26      categories and would require Facebook to conduct an enormously burdensome collection and review

           27      of nearly all ADI communications relating to               apps—and to produce many volumes of

           28      those communications within a matter of days. That is simply not possible.

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               1           A.       Judge Corley considered and rejected Plaintiffs’ request for ADI-

               2                    communications.

               3           1.       Plaintiffs initially demanded that Facebook produce all ADI-related documents and

               4   communications. Understanding there were potentially millions of privileged documents within the

               5   scope of Plaintiffs’ request and in an effort to avoid unnecessary burdens on the parties and the Court,

               6   Judge Corley asked the parties to identify a sample of materials so that she could provide guidance on

               7   which materials she believed to be privileged. July 13, 2020 Hr’g Tr. (Ex. C) at 44:23–48:8.

               8           2.       The parties agreed to a sampling exercise for materials connected with six exemplar

               9   apps.2 Dkt 513-1 (Ex. D). The parties agreed to 26 ADI custodians. Facebook collected and

           10      reviewed all communications from those custodians hitting on the six apps’ names or ID numbers,

           11      then produced non-privileged documents and logged privileged communications. Id. Facebook’s

           12      logs contained over 6,000 entries. Dkt. 599 (Ex. E) at 4; Southwell Decl. ¶ 17. Completing this

           13      sampling process for just six apps took more than 300 attorney hours. Southwell Decl. ¶ 17.

           14              3.       Plaintiffs ultimately moved to compel all entries on Facebook’s exemplar privilege

           15      logs that did not list an attorney as an author or recipient (i.e. non-attorney communications). Judge

           16      Corley ordered Plaintiffs to select 20 of those entries for in camera review and ordered the parties to

           17      submit simultaneous briefs regarding the 20 documents. Dkt. 602 (Ex. F) ¶ A; Jan. 15, 2021 Hr’g Tr.

           18      (Ex. G) at 4:15–11:19; id. at 12:13–15.3 She did not permit declarations. Id.

           19              4.       After conducting an in camera review of the 20 non-attorney communications

           20      Plaintiffs chose, Judge Corley did not order a single communication (or attachment) produced.

           21      Judge Corley stated: “[A] lot of it I don’t think is relevant at all”—some materials are “privilege[d]

           22      and I actually think you don’t even need.” Ex. B at 17:8–21. Judge Corley expressed a preliminary

           23      view that “underlying facts” from ADI would be discoverable, Dkt. 711 (Ex. I) at 1, but that “there

           24      are certainly going to be documents in there that are “(a) attorney-client privilege[d]; or (b) attorney

           25      work product.” Ex. B at 16:22–24. She then explained that she was not inclined to issue a ruling on

           26      2
                     The parties agreed to two apps that were investigated but not suspended, two apps that were investigated and suspended
                   for non-compliance with the investigation, and two apps that were investigated and suspended not only for non-
           27      compliance with the investigation.
                   3
                     Plaintiffs’ Motion To Compel Production of Documents Related To Facebook’s App Developer Investigation—which
           28      demanded productions of the materials Judge Corley reviewed in camera, along with all other non-attorney
                   communications from ADI—is Docket Number 611-2 (Ex. H) in this case.
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               1   the 20 documents she reviewed because any ruling could not resolve the parties’ broader privilege

               2   dispute, and the parties would likely be back before the Court on “every single document.” Id. at

               3   17:15–21.

               4          5.      After declining to order production of non-attorney ADI communications, Judge

               5   Corley pressed Plaintiffs to focus and narrow their request. She asked them “what . . . precisely [it is]

               6   that the plaintiffs need from th[e] investigation.” Ex. B at 17:22–23. Plaintiffs clarified they did not

               7   actually seek the materials they challenged and selected for in camera review, which consisted of

               8   non-attorney ADI communications, and instead sought the underlying facts: “[T]he facts underlying

               9   these communications are what we’re really seeking.” Id. at 18:13–15; id. at 18:1–4. In reliance on

           10      that representation, the parties mediated Plaintiffs’ request for “facts” for more than three months.

           11             6.      When the parties did not resolve the dispute in mediation, Judge Corley ordered the

           12      parties to submit a joint letter brief. Dkt. 693 (Ex. J). She then issued an order reflecting her

           13      understanding that Plaintiffs no longer sought communications from ADI. Ex. I. She explained,

           14      Plaintiffs sought “background and technical investigations” and “Facebook conducted audits and

           15      interviews.” Id. at 2–3. Judge Corley even confirmed that “[n]one of the documents [Plaintiffs seek]

           16      were part of the in camera review the Court earlier conducted”—which focused exclusively on ADI-

           17      communications among non-attorneys of Plaintiffs’ choosing. Id. at 3. Further emphasizing that she

           18      did not intend ADI communications to remain in scope, Judge Corley permitted Facebook to submit a

           19      single declaration in support of its position that the specific “investigatory materials” she described

           20      Plaintiffs to be seeking were privileged. Id.; see also Dkt. 720 (Declaration of Alexander H.

           21      Southwell) (Ex. K). She did not permit or require additional declarations about Facebook’s claim of

           22      privilege over other types of ADI materials, including millions of individual communications.

           23             7.      On September 8, 2021 Judge Corley issued an order resolving the parties’ ADI

           24      privilege dispute. See Dkt. 736 at 7 (Ex. L). The order stated that Facebook refused to produce

           25      “reports, audits and interviews, non-attorney communications” and “dispose[d] of Docket No[.]

           26      611”—Plaintiffs’ prior motion to compel non-attorney ADI communications. Id. at 2, 7 (emphasis

           27      added). In doing so, Judge Corley did not order production of any ADI-related communications. Id.

           28      at 7. When a party has moved to compel materials, and a court resolves the motion without granting

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               1   the request, the request is presumed denied. California Dep't of Soc. Servs. v. Leavitt, 523 F.3d 1025,

               2   1031 (9th Cir. 2008) (“The court did not expressly discuss the request to authorize discovery, but also

               3   did not order discovery, thereby implicitly denying the request.”).

               4          8.      Instead of ordering Facebook to produce ADI communications, Judge Corley

               5   ordered Facebook to produce three categories of materials for the six exemplar apps the parties

               6   had chosen previously: “background and technical reports, audits and developer interviews.” Ex. L

               7   at 7. Judge Corley reasoned that she was ordering production of these materials because “Facebook

               8   has offered no special reasons why those particular documents are privileged.” Id. She further stated

               9   that “Facebook has not explained how a non-attorney’s interview or audit of a developer would be

           10      protected from discovery by the attorney-client privilege.” Id. at 6.

           11             9.      Judge Corley ordered the “parties to work with the Special Master regarding

           12      production of additional materials consistent with the guidance offered by [her] Order.” Ex. L at 7

           13      (emphasis added). The clear implication was that she expected the parties to work with the Special

           14      Master to determine if Facebook should produce the same categories of materials for additional apps.

           15             B.      Contrary to Judge Corley’s guidance, the Special Master ordered Facebook to

           16                     produce large volumes of ADI communications.

           17             10.     The Special Master’s Tentative Order states that “Judge Corley’s order does not

           18      exclude non-attorney internal Facebook communications, communications with [Facebook’s

           19      consulting experts], or communications with third party app developers from the scope of ADI

           20      documents to be produced.” Tentative Order ¶ 12. This holding guts Judge Corley’s ruling, is

           21      inconsistent with the Federal Rules of Civil Procedure, and contravenes a recent decision from the

           22      Massachusetts Supreme Judicial Court.

           23             11.     Judge Corley worked with the parties for years to focus Plaintiffs’ ADI requests on a

           24      reasonable, workable, and proportionate set of materials. To accomplish this, she ordered a lengthy,

           25      time-consuming, and burdensome sampling exercise and conducted an in camera review of non-

           26      attorney communications that Plaintiffs selected. After completing that process, Judge Corley did

           27      not order production of a single ADI communication.

           28             12.     The entire point of the sampling exercise and in camera review was to allow Judge

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               1   Corley to assess whether there was a relevant, proportionate, and non-privileged set of ADI-related

               2   communications that were discoverable. She determined no such communications existed. Instead—

               3   after reviewing a sample of non-attorney communications—she observed that many were irrelevant

               4   and others privileged. Ex. B at 17:8–21. Recognizing that the burden of review would be

               5   disproportionate to the limited benefits of production, she steered the parties away from ADI

               6   communications and declined to provide guidance on the 20 non-attorney communications she

               7   reviewed. Judge Corley reasoned that even addressing 20 documents could not provide useful

               8   guidance, and she would end up needing to review all non-attorney ADI communications in camera.

               9   Id. at 17:15–17. This would not have been reasonable, workable, or useful, given her finding that “a

           10      lot of” the material was not “relevant at all” and that many would be privileged. Id. at 17:8–21.

           11             13.     The Tentative Order ignores Judge Corley’s guidance and the proportionality

           12      requirement in Rule 26, and sends the parties back to square one. It would allow Plaintiffs to again

           13      demand that Facebook review essentially all ADI-related communications, requiring an astronomical

           14      collection and review that would take many months and thousands of attorney hours to complete.

           15             14.     This is the outcome Judge Corley sought to prevent. Her guidance was designed to

           16      ensure that ADI would not hijack and further delay this case. To move the process forward, Judge

           17      Corley focused the parties on three categories of underlying factual materials and avoided ordering a

           18      review of millions of irrelevant and privileged communications. If Judge Corley thought it would be

           19      fruitful for Facebook to review additional ADI communications beyond the thousands Facebook

           20      reviewed for the parties’ sampling exercise, she would have ordered that long ago.

           21             15.     The Tentative Order also conflicts with the Massachusetts Supreme Judicial Court’s

           22      holding in Attorney General v. Facebook, Inc., 164 N.E.3d 873 (Mass. 2021) (Ex. M). There, the

           23      court reversed a ruling about the privileged nature of ADI (including non-attorney communications)

           24      and held: “[A]ny confidential communications relating to ADI among Facebook, Gibson Dunn, and

           25      other members of the ADI team would almost certainly be privileged.” Ex. M at 888.

           26             16.     Facebook respectfully asks the Special Master to reconsider its ruling that Judge

           27      Corley’s order “does not exclude non-attorney internal Facebook communications [or]

           28      communications with [Facebook’s consulting experts],” and to modify the Tentative Order to clarify

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               1   that Facebook’s ADI production obligations are limited to the categories of underlying factual

               2   materials Judge Corley found potentially discoverable and ordered Facebook to produce for the six

               3   exemplar apps under compulsion: (i) background and technical reports prepared by outside

               4   consultants, (ii) interviews conducted by non-attorneys, and (iii) audits conducted by non-attorneys.

               5   II.      Facebook seeks reconsideration of the production timeline required by the Tentative

               6            Order because it would be impossible for Facebook to comply with.

               7            To the extent the Special Master does not reconsider his ruling that ADI communications are

               8   discoverable, Facebook respectfully seeks reconsideration of the production schedule the Tentative

               9   Order requires, which would be impossible for Facebook to comply with. Under the Tentative Order,

           10      within two weeks of receiving a request for ADI communications, Facebook could be required to

           11      collect and review communications relating to                apps, and assess which—if any—are “in

           12      connection with” an investigatory report prepared by Facebook’s outside experts. This could require

           13      Facebook to collect and conduct a detailed review of                                      documents

           14      within a matter of days—a process that would take thousands of attorney hours.

           15               To the extent this process is designed to provide a sample of ADI communications to assess

           16      whether they are relevant, the parties already conducted such a sampling exercise. Judge Corley

           17      found that the non-attorney communications relating to six apps the parties chose were largely

           18      irrelevant and that production of ADI communications was simply was not workable. The burdens

           19      and infeasibility of the Special Master’s Tentative Order underscore that conclusion.

           20               1.     The Tentative Order requires Facebook to produce ADI materials “on a rolling weekly

           21       basis,” beginning with “reports for which related audits and non-attorney interviews are available.”

           22       Tentative Order ¶ 13. As explained in the accompanying declaration of Alexander H. Southwell,

           23       Facebook would need at least three to five weeks to begin these rolling productions so that it can

           24       collect the materials, train reviewers, and carry out the review—all of which would take more time

           25       around the holidays. Southwell Decl. ¶ 5. Once Facebook’s review begins, it estimates that it would

           26       then require at least three months to complete rolling productions of all background and technical

           27       reports, audits conducted by non-attorneys, and interviews conducted by non-attorneys. Id. ¶ 6.

           28               2.     Nor would that colossal project be the end. After Facebook makes an initial

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               1   production of background and technical reports, the Tentative Order allows Plaintiffs to request all

               2   “non-attorney internal Facebook communications, communications with [Facebook’s consulting

               3   experts], or communications with third party app developers in connection with a statistically

               4   significant sample of the reports provided.” Tentative Order ¶ 14. Facebook must then produce

               5   those communications within “ten business days,” and—after reviewing the materials—Plaintiffs

               6   may request more “upon a showing of relevance.” Tentative Order ¶ 15-16.

               7              3.        The Sisyphean schedule the Tentative Order requires is impractical and impossible to

               8   comply with. The Tentative Order requires Facebook to prioritize production of background and

               9   technical reports for apps “for which related audits and non-attorney interviews are available.”

           10      Tentative Order ¶ 13.4 There are                                    such reports associated with audits Facebook

           11      conducted. Southwell Decl. ¶ 10.5 Given the relatively low number of reports associated with apps

           12      for which audits are available, a statistically significant sample of the reports may be all of them. 6

           13                 4.        The                         reports for which there are related audits alone concern

           14                        apps. Id. The ADI team did not collect and store communications by app or by report.

           15      Id. ¶ 8. As a result, Facebook would need to locate and collect all ADI-related communications

           16      relating to                           apps and then conduct a careful analysis of whether each of those

           17      communications relates in any way to one of the reports. Id.

           18                 5.        If Facebook were to produce                reports for which there are related audits in its first

           19      rolling production, the volume of communications Facebook would have to collect and review within

           20      two weeks would be in the order of                                                                              documents.

           21      Id. ¶ 12. Even though the Tentative Order would require production of only certain types of

           22      communications, this would not meaningfully narrow the universe of documents Facebook would

           23      need to collect and review. Id. To determine which non-attorney communications are “in connection

           24      with” a particular report, Facebook would need to recreate the history of its investigation of each app

           25      addressed by that report, figure out exactly what steps were taken to prepare the report, and then

           26
                   4
                    As discussed below, unlike Judge Corley’s Order, the Tentative Order does not distinguish between attorney audits and
           27      non-attorney audits. See infra at 14.
                   5
                    Facebook is continuing to assess what, if any, interviews and related reports fall within the Order, which could
           28      potentially increase the number of reports and associated apps at issue. Southwell Decl. ¶ 10.
                   6
                       Ambiguity as to the statistically significant sample the order describes is likely to cause prolonged disputes.
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               1   assess which communications relate to those steps. Id. This would require reviewing a substantial

               2   volume of attorney communications in order to assess which non-attorney communications were “in

               3   connection with” each report.7 Under the Tentative Order, Facebook could be required to complete

               4   this analysis in less than two weeks for                          apps. That is an impossible task.

               5           6.       Not only would the Tentative Order require Facebook to review a massive volume of

               6   materials, Facebook could not expedite its review by hiring contract reviewers. Attorneys who are

               7   not familiar with ADI would not be able to accurately analyze which ADI communications were “in

               8   connection with” a particular report. Attorneys who have significant familiarity with ADI would

               9   need to conduct the review, which would constrain how quickly Facebook could complete it. Id.

           10      ¶ 13. The ADI was complex and nuanced, and detailed familiarity with ADI would be required to

           11      recreate the steps that were taken to prepare each background and technical report and review

           12      accurately whether particular communications were in connection with that process. Id. ¶¶ 12–13.

           13              7.       Making the review even more difficult and onerous, many, if not all, ADI-related

           14      communications “in connection with” a background or technical report would also contain attorney

           15      advice or work product that would need to be reviewed carefully for privilege and quality checked for

           16      accuracy and consistency across communications. Id. ¶ 16.

           17              8.       The Tentative Order’s requirement that Facebook complete all of this work in just two

           18      weeks is not possible. The sampling exercise Facebook conducted for six apps involved review of

           19      approximately 6,000 communications, and more than 300 Gibson Dunn attorney hours were spent to

           20      collect, review, produce, and log them. Id. ¶ 17. A similar review for                                 additional

           21      apps would likely take many months, and certainly cannot be completed within 10 business days.

           22              9.       Facebook respectfully asks the Special Master to reconsider his ruling that, at

           23      Plaintiffs’ request, Facebook must produce within ten business days communications associated with

           24      “a statistically significant sample of the reports [in Facebook’s initial production].”

           25              10.      If the Special Master believes that he would benefit from considering a sample of ADI

           26      communications to assess relevance and privilege, Facebook would (at the Special Master’s request)

           27      7
                    Indeed, when Facebook briefed to Judge Corley its claim of privilege over the 20 non-attorney communications
                   Plaintiffs selected for review in camera, many of Facebook’s explanations of why particular non-attorney
           28      communications were privileged referred back to attorney communications that provided relevant context. Dkt. 613 (Ex.
                   N) at 11–15, 17–19.
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               1   submit in camera the 20 non-attorney communications from the six exemplar apps Plaintiffs selected

               2   for Judge Corley to review. The parties’ sampling exercise from those apps was designed and

               3   conducted specifically to allow the Court to provide guidance on which ADI materials may be

               4   relevant and which may be privileged. Collecting, reviewing, and logging those materials took more

               5   than 300 hours from Gibson Dunn attorneys, Southwell Decl. ¶ 17—in addition to substantial time

               6   from Facebook’s in-house legal team and vendors. Facebook then invested significant additional

               7   time to brief to Judge Corley why the 20 non-attorney communications from that exercise Plaintiffs

               8   selected for her review were privileged. There is no reason to repeat that work. To the extent the

               9   Special Master would benefit from reviewing non-attorney communications in camera beyond the 20

           10      Plaintiffs selected for Judge Corley to review, any such communications should come from the

           11      materials Facebook already collected, reviewed, and logged for the six exemplar apps.

           12 III.        Facebook seeks reconsideration of the Tentative Order’s requirement that Facebook

           13             produce documents that are not relevant to the live claims and defenses in this case.

           14             Facebook respectfully seeks reconsideration of the Tentative Order’s requirement that

           15      Facebook produce documents even if they are not relevant. As Judge Chhabria and the Special Master

           16      have reminded Plaintiffs repeatedly, and as the law and Federal Rules make crystal clear, Facebook

           17      can only be required to produce documents that are relevant to the live claims and defenses in this case.

           18             1.      The Tentative Order would require Facebook to produce certain ADI communications.

           19      Tentative Order ¶ 14–15. Then, if Plaintiffs can demonstrate these produced communications are

           20      relevant, Plaintiffs may request additional communications. Id ¶ 16. That process is backwards.

           21      Plaintiffs are not entitled to materials that are not relevant. Leon v. Cnty. of San Diego, 202 F.R.D.

           22      631, 634 (S.D. Cal. 2001) (“The threshold issue in any discovery dispute is determining whether the

           23      requested discovery meets the requirements of [Rule 26] regarding relevance.”).

           24             2.      As Judge Chhabria and the Special Master have recognized previously, Facebook—as

           25      the producing party—is entitled to make relevance determinations, and Plaintiffs are not entitled to

           26      discovery regarding materials that are not relevant. See Mar. 5, 2020 Hr’g Tr. (Ex. O) at 7:23–8:10

           27      (“[Facebook] would never be required to do a log of the stuff that they pulled out and determined was

           28      irrelevant or non-responsive to your request.”); Supplemental Order Regarding The Use Of TAR

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               1   ¶¶ 2, 4, 16, JAMS Ref. No. 1200058674, Oct. 9, 2021 (Ex. P) (denying Plaintiffs’ request for

               2   Facebook to use TAR and denying Plaintiffs participation in Facebook’s relevancy determinations).

               3   The Special Master’s Tentative Order undermines this basic principle, particularly given Judge

               4   Corley’s finding that many of the documents at issue are entirely irrelevant. Ex. B at 17:8–21.

               5          3.      Facebook respectfully seeks reconsideration of the Tentative Order to the extent it

               6   requires Facebook to produce materials that are not relevant to the case.

               7 IV.       Facebook seeks reconsideration of any requirement that Facebook produce materials

               8           over which it asserts privilege without the Special Master having conducted the

               9           document-by-document in camera review that Ninth Circuit authority requires.

           10             To the extent the Special Master intended to order Facebook to produce (and not merely to

           11      log) ADI communications over which it asserts privilege, Facebook respectfully seeks

           12      reconsideration of that holding. It is not clear whether the Tentative Order requires Facebook to

           13      produce ADI communications that Plaintiffs request even if Facebook asserts privilege over those

           14      communications, or whether it allows Facebook to log privileged communications consistent with the

           15      parties’ Privilege Protocol. ADI was a legal investigation designed and led at all stages by attorneys

           16      in order to advise Facebook on its legal risks (including in this litigation and related actions) and

           17      communications from the investigation are privileged. To the extent the Special Master intended to

           18      issue a blanket ruling requiring Facebook to produce massive volumes of communications over

           19      which it has asserted privilege, that holding conflicts directly with controlling authority.

           20             1.      The Massachusetts Supreme Judicial Court recently considered whether ADI

           21      communications (including non-attorney communications) are privileged. That court held that “any

           22      confidential communications relating to ADI among Facebook, Gibson Dunn, and other members of

           23      the ADI team would almost certainly be privileged.” Ex. M at 888.

           24             2.      While Facebook disagrees, Judge Corley found that the ADI served a dual legal and

           25      business purpose. Dkt. 736 at 6. Judge Corley recognized that certain non-attorney communications

           26      she reviewed in camera appeared to be privileged. Ex. B at 17:8–21, 18:1-4, 18:13-15. She also

           27      recognized that Plaintiffs would not be entitled to ADI materials to the extent they include work

           28      product or attorney advice. Id. at 16:22–25.

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               1            3.       A long line of Ninth Circuit authority holds that a court must assess “dual purpose”

               2   materials for privilege in camera and on a document-by-document basis. courts in the Ninth Circuit

               3   consistently apply the “because of’ test to determine whether specific documents are entitled to work

               4   product protection and the “primary purpose” test to determine whether they are protected by the

               5   attorney-client privilege. See Phoenix Techs. Ltd. v. VMware, Inc., 195 F. Supp. 3d 1096, 1102 (N.D.

               6   Cal. 2016) (describing “because of” test); In re Grand Jury, 13 F.4th 710, 716–17 (9th Cir. 2021)

               7   (adopting “primary purpose” test for dual purpose documents). 8

               8            4.       Neither the “primary purpose” test for attorney-client communications nor the

               9   “because of” test for attorney work product allows for a categorical ruling that materials from a dual-

           10      purpose investigation are discoverable. Both tests require a fact-intensive analysis of whether

           11      specific documents served a legal purpose. 9 This requires either a document-by-document inquiry or

           12      a sampling of the relevant types of documents to determine which types of materials served a legal

           13      purpose.10 This is also consistent with Judge Corley’s view that the Court could not fully resolve the

           14      parties’ dispute regarding attorney-client privilege for ADI-related communications based on an in

           15
                   8
                      In the context of dual-purpose investigations, documents are considered privileged if legal advice was a primary
           16      purpose, or “one of the significant purposes of [the] attorney-client communication” at issue. In re Kellogg Brown &
                   Root, Inc., 756 F.3d 754, 759–60 (D.C. Cir. 2014) (emphasis added); see also Todd v. STAAR Surgical Co., 2015 WL
           17      13388227, at *10 (C.D. Cal. Aug. 21, 2015) (conclusions reached by consultant retained by law firm were protected work
                   product because work, while “related to routine business matters, was being channeled through [the law firm] so that it
           18      could provide legal advice . . . in anticipation of litigation”); In re Gen. Motors LLC Ignition Switch Litig., 80 F. Supp. 3d
                   521, 530 (S.D.N.Y. 2015) (documents underlying investigation created by outside law firm were privileged and work
           19      product because “an attorney-client privilege that fails to account for the multiple and often-overlapping purposes of
                   internal investigations would threaten to limit the valuable efforts of corporate counsel to ensure their client’s compliance
           20      with the law”); Pearson v. Ariz., 2020 WL 5544373, at *3 (D. Ariz. Sept. 16, 2020) (investigation report was protected
                   work product despite the defendant’s concession that “it would have investigated the incident underlying this case
           21      regardless of whether litigation was anticipated”); Pitkin v. Corizon Health, Inc., 2017 WL 6496565, at *4 (D. Or. Dec.
                   18, 2017) (holding investigation report and supporting documents were privileged, even though the investigation was
           22      required under corporate policies and contracts, because “at least one primary purpose of the investigation was to assess
                   the situation from a legal perspective, provide legal guidance, and prepare for possible litigation and/or administrative
           23      proceedings”); United States ex rel. Wollman v. Mass. Gen. Hosp., Inc., 475 F. Supp. 3d 45, 65 (D. Mass. 2020) (holding,
                   after in camera review, that investigation report prepared by law firm was attorney-client privileged); Smith-Brown v.
           24      Ulta Beauty, Inc., 2019 WL 2644243, at *3 (N.D. Ill. June 27, 2019) (finding internal investigation documents privileged,
                   but only after in camera review of each document).
                   9
                      See, e.g., In re High-Tech Emp. Antitrust Litig., 2013 WL 772668, at *8 (N.D. Cal. Feb. 28, 2013) (finding sample 17
           25      documents reviewed in camera—out of 166 total documents—privileged, but declining to rule on remaining withheld
                   documents); Fosbre v. Las Vegas Sands Corp., 2016 WL 183476, at *7–10 (D. Nev. Jan. 14, 2016) (granting in camera
           26      review of sample of 190 documents, noting that privilege of a dual-purpose document “can only be determined by
                   evaluating the communication itself”). .
           27      10
                      Dolby Lab’ys Licensing Corp. v. Adobe Inc., 402 F. Supp. 3d 855, 868–76 (N.D. Cal. 2019) (in challenge of over 4,000
                   privileged documents, court reviewed a sample in camera and appointed special master to decide future privilege
           28      disputes); In re Lidoderm Antitrust Litig., 2016 WL 861019, at *7 (N.D. Cal. Mar. 7, 2016) (analyzing sample documents
                   in camera “to provide guidance [on] . . . ongoing assertions of privilege”).
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               1   camera review of 20 communications among non-attorneys. Ex. B at 17:15–21.

               2           5.     Facebook cannot be ordered to produce privileged materials without the Special

               3   Master conducting such an analysis and applying the “primary purpose” and “because of” tests to

               4   those materials. Facebook respectfully asks the Special Master to reconsider his Tentative Order to

               5   the extent he is ordering production of communications over which Facebook is asserting privilege,

               6   without conducting the in camera review that the Ninth Circuit requires.

               7   V.      Facebook seeks reconsideration of the Tentative Order’s holding that Facebook must

               8           produce attorney audits and “all memoranda” prepared by its consulting experts.

               9           Facebook respectfully seeks reconsideration of the Tentative Order’s holding that “all

           10      memoranda prepared by [Facebook’s consulting experts]” and “all audits,” including attorney audits,

           11      “are within the scope of Judge Corley’s order.” Tentative Order ¶ 11. Judge Corley’s Order does not

           12      find discoverable “all audits” or “all memoranda” by Facebook’s consulting experts. With respect to

           13      audits, Judge Corley’s Order states: “Plaintiffs are not seeking documents created by counsel,

           14      counsel’s edits, or any communications with counsel. Facebook has not explained how a non-

           15      attorney’s interview or audit of a developer would be protected from discovery by the attorney-client

           16      privilege.” Ex. L at 6. As for memoranda, Judge Corley’s Order describes as discoverable two

           17      specific types of memoranda prepared by these experts: “background and technical reports.” Id.

           18              1.     Judge Corley’s Order is clear that she is ordering Facebook to produce only non-

           19      attorney audits. Her order states “Plaintiffs are not seeking documents created by counsel, counsel’s

           20      edits, or any communications with counsel.” Ex. L at 6. She also explained that she was ordering

           21      Facebook to produce certain audit reports because “Facebook has not explained how a non-attorney’s

           22      interview or audit of a developer would be protected from discovery by the attorney-client privilege.”

           23      Id. There is no fair way to read this ruling to find attorney audits to be within the scope of Judge

           24      Corley’s Order. Nor has Facebook had an opportunity to create a record regarding attorney audits

           25      given that Plaintiffs did not seek these materials, as Judge Corley recognized.

           26              2.     Judge Corley’s order also does not find every single memorandum prepared by

           27      Facebook’s consulting experts discoverable. Her Order refers specifically to two types of

           28      memoranda prepared by Facebook’s consulting experts—“background and technical reports.”

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               1          3.      During the December 4 hearing before the Special Master, the parties and the Special

               2   Master discussed production of memoranda prepared by outside experts. Consistent with Judge

               3   Corley’s prior guidance, the only “memoranda” discussed at the hearing were the “background and

               4   technical reports” prepared by Facebook’s consulting experts that Judge Corley had ordered

               5   produced—not a separate category of materials. Southwell Decl. ¶ 4.

               6          4.      Other memoranda prepared by Facebook’s consulting experts are outside the scope of

               7   Judge Corley’s guidance and the scope of documents she ordered the Special Master to work with the

               8   parties to produce. Facebook has never had an opportunity to submit briefing or an evidentiary

               9   record regarding the other types of memoranda that its outside experts created or to demonstrate that

           10      these materials contain privileged information and work product. Id. Nor has the Special Master or

           11      Judge Corley conducted an in camera review of the other types of memoranda Facebook’s experts

           12      prepared in order to analyze privilege under the “primary purpose” and “because of” tests.

           13             5.      Facebook respectfully asks the Special Master to reconsider his order that Facebook

           14      produce these materials. Facebook should not be ordered to produce additional types of memoranda

           15      that Judge Corley did not identify as potentially discoverable and for which Facebook has not had an

           16      opportunity to develop a record demonstrating privilege. At minimum, Facebook must be provided an

           17      opportunity to submit briefing and an evidentiary record regarding its claim of privilege over

           18      memoranda prepared by its outside experts beyond those addressed by Judge Corley, as neither the

           19      parties nor Judge Corley have ever previously addressed these materials.

           20                                                 CONCLUSION

           21             Facebook respectfully asks the Special Master to reconsider his ruling. In the event that the

           22      Special Master does not reconsider or modify the Tentative Order, Facebook respectfully requests a

           23      stay of the order pending appeal to Judge Corley. Facebook requests a hearing on this motion.

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                   Dated: December 15, 2021              GIBSON, DUNN & CRUTCHER, LLP
               2
                                                          By: /s/ Orin Snyder
               3                                          Orin Snyder (pro hac vice)
                                                          osnyder@gibsondunn.com
               4
                                                          200 Park Avenue
               5                                          New York, NY 10166-0193
                                                          Telephone: 212.351.4000
               6                                          Facsimile: 212.351.4035
               7                                          Deborah Stein (SBN 224570)
                                                          dstein@gibsondunn.com
               8
                                                          333 South Grand Avenue
               9                                          Los Angeles, CA 90071-3197
                                                          Telephone: 213.229.7000
           10                                             Facsimile: 213.229.7520
           11                                             Joshua S. Lipshutz (SBN 242557)
           12                                             jlipshutz@gibsondunn.com
                                                          1050 Connecticut Avenue, N.W.
           13                                             Washington, DC 20036-5306
                                                          Telephone: 202.955.8500
           14                                             Facsimile: 202.467.0539
           15                                             Kristin A. Linsley (SBN 154148)
           16                                             klinsley@gibsondunn.com
                                                          Martie Kutscher (SBN 302650)
           17                                             mkutscherclark@gibsondunn.com
                                                          555 Mission Street, Suite 3000
           18                                             San Francisco, CA 94105-0921
                                                          Telephone: 415.393.8200
           19                                             Facsimile: 415.393.8306
           20

           21                                             Attorneys for Defendant Facebook, Inc.

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               8
                                                 UNITED STATES DISTRICT COURT
               9                               NORTHERN DISTRICT OF CALIFORNIA
                                                    SAN FRANCISCO DIVISION
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           11      IN RE: FACEBOOK, INC. CONSUMER                   CASE NO. 3:18-MD-02843-VC
                   PRIVACY USER PROFILE LITIGATION
           12                                                       DECLARATION OF ALEXANDER
                                                                    SOUTHWELL IN SUPPORT OF
           13                                                       FACEBOOK’S MOTION FOR
                   This document relates to:
                                                                    RECONSIDERATION
           14

           15      ALL ACTIONS.

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                         DECLARATION OF ALEXANDER SOUTHWELL IN SUPPORT OF FACEBOOK’S MOTION FOR RECONSIDERATION
                                                      CASE NO. 3:18-MD-02843-VC
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               1           I, Alexander H. Southwell, hereby declare as follows:
               2           1.          I am an attorney licensed to practice law in the State of New York. I am a partner with
               3
                   the law firm of Gibson, Dunn & Crutcher LLP. I submit this declaration in support of Facebook’s
               4
                   Motion for Reconsideration. I make this declaration on my own knowledge, and I would testify to the
               5
                   matters stated herein under oath if called upon to do so.
               6

               7           2.          I led the Gibson Dunn team engaged to develop and conduct the App Developer

               8   Investigation (“ADI”), and my team worked with                          and                  to investigate

               9   millions of apps as part of the ADI.
           10
                           3.          On December 8, 2021, the Special Master ordered Facebook to produce on a rolling
           11
                   weekly basis various materials created as part of the ADI, including “all memoranda prepared by
           12
                                  or                   and all background reports, technical reports, audits, and non-attorney
           13
                   developer interviews in connection with the ADI.” Order ¶ 13. The Order requires Facebook to begin
           14

           15      its productions of materials with those relating to apps for which audits and/or non-attorney interviews

           16      are available. Id.
           17              4.          When discussing “memoranda” prepared by                      or                  at the
           18
                   hearing on December 4, 2021, we discussed the background and technical reports prepared by
           19
                                  or                 , which Judge Corley had ordered produced for six apps in her September
           20
                   8, 2021 Order. We did not discuss any other categories or types of “memoranda,” largely because that
           21

           22      was not part of Judge Corley’s order. Other memoranda created by                       and

           23      contain privileged information and attorney work product, and were drafted under the specific direction

           24      of Gibson Dunn for the purposes of allowing Gibson Dunn to assess and advise Facebook on potential
           25      legal risks.
           26
                           5.          The Special Master’s order instructs Facebook to produce materials on a rolling basis
           27
                   each week, but does not state when those productions are to begin. Facebook would need at least three
           28

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               1   to five weeks to begin producing an initial collection of the materials described by the order—including
               2   background and technical reports and audits and interviews conducted by non-attorneys. These
               3
                   materials are not currently collected in a document-review platform. Collection of these materials
               4
                   would likely require multiple weeks to complete and may involve collecting from varied document
               5
                   repositories, sources, and custodians. Then they would need to be transferred into a document-review
               6

               7   platform. Uploading the background and technical reports to a database for review on a rolling basis

               8   would likely require at least two-four days to complete for each group of documents collected from a

               9   particular repository, source, or custodian.
           10
                          6.      Once the materials are uploaded to a review platform they will need to be reviewed. I
           11
                   believe there are             background reports and          technical reports, each of which varies in
           12
                   length from dozens to many hundreds of pages. ADI materials are nuanced and unique, and Facebook
           13
                   will need to staff and train a review team to review them. It would likely take at least two to three
           14

           15      weeks to recruit and train reviewers (it will be more difficult to recruit and staff reviewers around the

           16      holidays) and then for them to review the first set of materials required for production under the Special
           17      Master’s order. Additional time will likely be required to recruit and train a review team with enough
           18
                   members to review the substantial volume of total reports. I am informed and aware that, at the same
           19
                   time that this review would be conducted, Facebook is separately completing a review of many millions
           20
                   of documents in connection with other document requests that have been issued in this case. This
           21

           22      separate review places further constraints on the resources of our vendors, the senior attorneys who are

           23      needed to manage and quality check the review, and the in-house attorneys at Facebook. In total, a

           24      preliminary estimate, without the benefit of testing and subject to change, is at least three months to
           25      complete a review of all of the background and technical reports (once the reviewers begin), even if
           26
                   we are able to recruit and train a review team of say thirty attorneys.
           27

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               1          7.      The tentative order further states that “within five days of receiving the first rolling
               2   production from Facebook, Plaintiffs may request all non-attorney internal Facebook communications,
               3
                   communications with                     or                 , or communications with third party app
               4
                   developers in connection with a statistically significant sample of the reports provided,” and that
               5
                   Facebook must provide such communications within ten business days. Order ¶¶ 14–15.
               6

               7          8.      It would not be feasible for Facebook to produce all such communications within ten

               8   days of receiving such a request. The ADI team did not collect and store communications organized

               9   by report. Providing communications in connection with a given report created as part of the ADI
           10
                   would require Facebook to collect all ADI-related communications and then identify and conduct a
           11
                   careful analysis of whether each communication relates in any way to one of the reports. The time to
           12
                   complete this process would vary widely depending on the report and it could take weeks to identify
           13
                   and review communications related to a relatively simple report and far more for more complex reports,
           14

           15      as explained more below.

           16             9.      It is my understanding that the Special Master’s order requires communications to be
           17      collected and produced from the 26 ADI-related custodians to which the parties agreed previously. The
           18
                   complete inboxes of these custodians have not been collected, except for the 3 ADI custodians who are
           19
                   among the other 81 custodians in this case. These custodians’ inboxes would need to be collected,
           20
                   uploaded to a review database, and searched for ADI-related communications that refer to any of the
           21

           22      apps referenced in the first set of reports Facebook produces.

           23             10.     Under the Special Master’s order, Facebook’s first production would include

           24      background and technical reports associated with apps for which Facebook also has audits and/or
           25      interviews conducted by non-attorneys. There are                   background and technical reports
           26
                   associated with the audits Facebook conducted that concern around
           27
                   apps. Given the quick timing of Facebook’s reconsideration motion, we are continuing to assess what,
           28

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               1   if any, interviews and related reports fall within the Order, which could potentially increase the number
               2   of reports and associated apps.
               3
                             11.    I estimate that reviewing ADI-related communications referencing the over          apps
               4
                   addressed by Facebook’s audits alone, to identify any communications “in connection with” the
               5
                   background and technical reports that address those apps, could take months.
               6

               7             12.    First, I estimate the volume of communications would, at minimum, be in the order of

               8                                                          documents. When Facebook previously collected

               9   and reviewed ADI communications associated with just six apps, the review involved approximately
           10
                   6,000 documents.1 I recognize that the tentative order contemplates production specifically of non-
           11
                   attorney internal Facebook communications or communications with Facebook’s consulting experts.
           12
                   As a practical matter, this limitation would not significantly narrow the number of communications
           13
                   Facebook would need to collect and review. In order to accurately assess which non-attorney
           14

           15      communications may be “in connection” with a particular report, Facebook would likely need to assess

           16      most, if not all, ADI related communications regarding the apps referenced in each report to get a full
           17      picture of the work that went into each report and which non-attorney communications relate to that
           18
                   work. Put differently, understanding the context of isolated non-attorney communications will require
           19
                   assessing surrounding attorney communications that the Special Master has not ordered produced. My
           20
                   team also found this to be true during the parties’ prior sampling exercise for the six exemplar apps.
           21

           22      When we briefed to Judge Corley Facebook’s claim of privilege over the 20 non-attorney

           23      communications Plaintiffs selected for review in camera, we frequently needed to review large numbers

           24      of attorney communications to understand the full context of non-attorney communications, and we
           25

           26
                   1
                       This number is distinct from the number of entries that appeared on Facebook’s logs for two
           27          reasons. First, Facebook produced any non-privileged materials from that review. Second,
                       Facebook produced a separate privilege log for each of the six apps that were part of the sampling
           28          exercise. When a document referenced more than one of the six apps, it appeared on the privilege
                       log created for each app that it referenced.
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               1   referred Judge Corley to certain attorney communications to help her understand the context of the
               2   non-attorney communications Plaintiffs had selected for her review. Dkt. 613 at 11–15, 17–19.
               3
                          13.     Second, significant familiarity with the ADI would be required to review accurately
               4
                   whether communications were in connection with a background and/or technical report. The ADI was
               5
                   complex and nuanced, and—in my experience and professional judgment—only attorneys who worked
               6

               7   on the ADI would be able to accurately review communications to determine if they were “in

               8   connection with” a particular background or technical report. Communications in connection with a

               9   report often times would not say so explicitly and may not even explicitly reference the ADI.
           10
                   Conversely, apps and developers that were the subject of a background or technical report created as
           11
                   part of the ADI will commonly appear in communications with ADI custodians that were not in
           12
                   connection with an ADI background and/or technical report. To understand whether particular
           13
                   communications were “in connection with” a report, the reviewer will need to understand the context
           14

           15      of each report, the types of communications that may have occurred around each individual report

           16      (which would have varied based on the circumstances), and be able to distinguish carefully among
           17      ADI-related communications that were related to reports, ADI-related communications that were not
           18
                   related to reports, and communications about apps addressed by reports that were not related to ADI at
           19
                   all.
           20
                          14.     For example, because the ADI covered millions of apps, many of which were active on
           21

           22      the Facebook Platform while the ADI was ongoing, communications from different Facebook

           23      stakeholders about and with developers of these apps would have been common.                    Such

           24      communications would likely have included some of the ADI custodians, but many of even these
           25      communications may not have been related to the ADI but instead would have been related to other
           26
                   Facebook purposes and initiatives. Reviewers with deep, personal knowledge of the ADI would be
           27
                   needed in order to accurately distinguish these materials.
           28

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               1          15.     There are currently two Gibson Dunn associates who have the required familiarity with
               2   the ADI to conduct this review accurately. Two other attorneys who have the requisite familiarity to
               3
                   conduct this review are on leave and will not return to the firm until at least late January.
               4
                          16.     Moreover, many, if not most, ADI related communications “in connection with” a
               5
                   background or technical report, would contain attorney advice or attorney work-product that would
               6

               7   need to be reviewed carefully for privilege, redacted, and carefully quality checked for accuracy and

               8   consistency across communications. Gibson Dunn reviewed and relied on background and technical

               9   reports to create work product and provide legal advice to Facebook and to direct                     and
           10
                                   to take action in furtherance of the investigation for the purpose of assessing litigation
           11
                   risk. Communications “in connection with” background and technical reports in most cases will relate
           12
                   directly to Gibson Dunn’s work-product and advice.
           13
                          17.     More than 300 Gibson Dunn attorney hours were spent to collect, review, produce, and
           14

           15      log documents and communications for the six exemplar apps. More than 90% of that time was from

           16      attorneys with deep, personal familiarity with ADI. The privilege logs that Facebook prepared for just
           17      6 apps, contained more than 6,000 entries. Conducting a similar review for                      apps could
           18
                   potentially require Facebook to logs                                     documents and require hundreds
           19
                   of thousands of attorney hours (accounting for many millions of dollars of billable hours) to complete.
           20

           21

           22                                                   *      *       *

           23             I declare under penalty of perjury under the laws of the United States of America that the

           24      foregoing is true and correct. Executed on December 15, 2021 in New York, New York.
           25

           26

           27

           28                                                                       Alexander H. Southwell


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